 4:04-cr-03099-RGK-DLP   Doc # 21   Filed: 06/09/05   Page 1 of 1 - Page ID # 47



                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )
                                     )                4:04CR3099
           v.                        )
                                     )
ROBERT VYHNALEK,                     )
ROSE VYHNALEK and                    )          MEMORANDUM AND ORDER
RICHARD CRAWFORD,                    )
                                     )
                Defendants.          )




     Following a conference with counsel pursuant to
Fed. R. Crim. P. 17.1, they report that they will finish with
discovery and there will be few, if any, motions filed.


     IT THEREFORE HEREBY IS ORDERED,

     Trial of this matter is set to commence at 9:00 a.m.,
September 12, 2005, for a duration of eight days before the
Honorable Richard G. Kopf in Courtroom 1, United States
Courthouse and Federal Building, 100 Centennial Mall North,
Lincoln, Nebraska. Jury selection will be held at commencement
of trial.


     DATED this 9th day of June, 2005.


                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
